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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11
                                          1
TSAWD HOLDINGS, INC., et al.,                                 Case No. 16-10527 (MFW)

                           Debtors.                           (Jointly Administered)



                      NOTICE OF AGENDA OF MATTERS SCHEDULED
                    FOR HEARING ON OCTOBER 25, 2018 AT 2:00 P.M. (ET)

ADJOURNED/RESOLVED MATTERS

1.       Motion of Google Inc. for Allowance and Payment of Administrative Expense Claim
         Pursuant to 11 U.S.C. § 503 [D.I. 3030; 10/3/16]

         Related Pleadings:                   None.

         Objection Deadline:                  November 29, 2016 at 4:00 p.m. (ET) [Extended for the
                                              Debtors to July 6, 2017 at 4:00 p.m. (ET)]

         Objections/Responses:

                   a)      Debtors’ Objection to Motion of Google Inc. for Allowance and Payment
                           of Administrative Expense Claim Pursuant to 11 U.S.C. § 503
                           [D.I. 3707; 7/6/17]

         Status:           By agreement of the parties, this matter is adjourned until the next hearing
                           on November 27, 2018.




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     The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSAWD
     Holdings, Inc. (9008); Slap Shot Holdings, Corp. (8209); TSAWD, Inc. (2802); TSA Stores, Inc. (1120); TSA
     Gift Card, Inc. (1918); and TSA Ponce, Inc. (4817). The headquarters for the above-captioned Debtors is
     located at 2305 East Arapahoe Road, Suite 234, Centennial, Colorado 80122.
     The Debtors were formerly known as: Sports Authority Holdings, Inc. (9008); Slap Shot Holdings, Corp.
     (8209); The Sports Authority, Inc. (2802); TSA Stores, Inc. (1120); TSA Gift Card, Inc. (1918); and TSA
     Ponce, Inc. (4817).



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2.       Joint Motion for an Order, Pursuant to Sections 105 and 503(b)(9) of the Bankruptcy
         Code and Rule 3007 of the Federal Rules of Bankruptcy Procedure, Establishing
         Procedures to Resolve Claims Arising Under Section 503(b)(9) of the Bankruptcy Code
         for Purposes of Distributing Settlement Proceeds [D.I. 3409; 2/13/17]

         Related Pleadings:

                   a)   Notice of Filing of Supplement to Joint Motion for an Order, Pursuant to
                        Sections 105 and 503(b)(9) of the Bankruptcy Code and Rule 3007 of the
                        Federal Rules of Bankruptcy Procedure, Establishing Procedures to
                        Resolve Claims Arising Under Section 503(b)(9) of the Bankruptcy Code
                        for Purposes of Distributing Settlement Proceeds [D.I. 3506; 3/24/17]

                   b)   Order, Pursuant to Sections 105 and 503(b)(9) of the Bankruptcy Code
                        and Rule 3007 of the Federal Rules of Bankruptcy Procedure, Establishing
                        Procedures to Resolve Claims Arising Under Section 503(b)(9) of the
                        Bankruptcy Code for Purposes of Distributing Settlement Proceeds [D.I.
                        3566; 4/25/17]

         Objection Deadline:          February 27, 2017 at 4:00 p.m. (ET) [Extended to April 7,
                                      2017 at 4:00 p.m. (ET) per the Supplement]

         Objections/Responses:

                   c)   M.J. Soffe, LLC’s Response and Reservation of Rights Regarding
                        Objection to Its Section 503(b)(9) Claim [D.I. 3612; 5/16/17]

         Status:        In accordance with the order listed above as Item (b), M.J. Soffe, LLC
                        filed a response to the proposed treatment of their 503(b)(9) claim. By
                        agreement of the parties, this matter is adjourned to the next hearing on
                        November 27, 2018.

3.       Joint Motion of Debtors and Term Loan Agent for Order, Pursuant to Bankruptcy Code
         Section 105(a), (I) Enforcing the 9019 Order and 9019 Settlement Agreement By and
         Among the Debtors, the Term Loan Agent, and Certain Non-Performing Settling
         Vendors, and (II) Granting Related Relief [D.I. 3579; 5/2/17]

         Related Pleadings:

                   a)   Order, Pursuant to Bankruptcy Code Section 105(a), (I) Enforcing the
                        9019 Order and 9019 Settlement Agreement By and Among the Debtors,
                        the Term Loan Agent, and Certain Non-Performing Settling Vendors, and
                        (II) Granting Related Relief [D.I. 3628; 5/23/17]




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                   b)   Further Order, Pursuant to Bankruptcy Code Section 105(a), (I) Enforcing
                        the 9019 Order and 9019 Settlement Agreement By and Among the
                        Debtors, the Term Loan Agent, and Certain Non-Performing Settling
                        Vendors, and (II) Granting Related Relief [D.I. 3726; 7/18/17]

                   c)   Second Further Order, Pursuant to Bankruptcy Code Section 105(a), (I)
                        Enforcing the 9019 Order and 9019 Settlement Agreement By and Among
                        the Debtors, the Term Loan Agent, and Certain Non-Performing Settling
                        Vendors, and (II) Granting Related Relief [D.I. 3778; 8/22/17]

                   d)   Third Further Order, Pursuant to Bankruptcy Code Section 105(a), (I)
                        Enforcing the 9019 Order and 9019 Settlement Agreement By and Among
                        the Debtors, the Term Loan Agent, and Certain Non-Performing Settling
                        Vendors, and (II) Granting Related Relief [D.I. 3824; 9/27/17]

                   e)   Fourth Further Order, Pursuant to Bankruptcy Code Section 105(a), (I)
                        Enforcing the 9019 Order and 9019 Settlement Agreement By and Among
                        the Debtors, the Term Loan Agent, and Certain Non-Performing Settling
                        Vendors, and (II) Granting Related Relief [D.I. 3924; 12/5/17]

         Objection Deadline:           May 16, 2017 at 4:00 p.m. (ET) [Extended to December 28,
                                       2017 at 4:00 p.m. (ET) for 02Cool, LLC]

         Objections/Responses:

                   f)   Opposition by Boost Oxygen [D.I. 3609; 5/16/17]

                   g)   Informal Response from 02Cool, LLC

         Status:        By agreement of the parties, this matter is adjourned to the next hearing on
                        November 27, 2018, with respect to the responses listed above.

4.       Debtors’ Motion for Entry of an Order, Pursuant to Section 105(a) of the Bankruptcy
         Code and Bankruptcy Rule 9019, Approving the Settlement Agreement By and Among
         TSA Stores, Inc., VF Imagewear, Inc. and Fanatics Licensed Sports Group, LLC [D.I.
         4235; 9/6/18]

         Related Pleadings:

                   a)   Certificate of No Objection [D.I. 4259; 9/24/18]

                   b)   Order, Pursuant to Section 105(a) of the Bankruptcy Code and Bankruptcy
                        Rule 9019, Approving the Settlement Agreement By and Among TSA
                        Stores, Inc., VF Imagewear, Inc. and Fanatics Licensed Sports Group,
                        LLC [D.I. 4262; 9/25/18]



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         Objection Deadline:          September 20, 2018 at 4:00 p.m. (ET)

         Objections/Responses:        None.

         Status:        An order has been entered by the Court. No hearing is necessary.

UNCONTESTED MATTER WITH CERTIFICATION OF COUNSEL

5.       Interim Fee Requests of Various Retained Professionals

         Related Pleadings:           See Exhibit 1, attached hereto.

                   a)   Certification of Counsel Regarding Omnibus Order Approving Ninth
                        Interim Fee Applications of Certain Debtors’ Professionals [D.I. 4291;
                        10/18/18]

                   b)   Proposed Order

                   c)   Certification of Counsel Regarding Order Granting Ninth Interim Fee
                        Application Request of BDO USA, LLP [D.I. 4295; 10/23/18]

                   d)   Proposed Order

         Objection Deadline:          Varies per individual applications.

         Objections/Responses:        None.

         Status:        A proposed form of order has been submitted under certification of
                        counsel for each of the respective quarterly fee applications of the
                        Debtors’ professionals and BDO USA, LLP. A hearing is only necessary
                        to the extent that the Court has any questions or concerns.


                                     [Signature Page Follows]




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Dated:      October 23, 2018
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                                      Kenneth J. Enos (No. 4544)
                                      Andrew L. Magaziner (No. 5426)
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                                            EXHIBIT 1

A.       Ninth Interim Fee Request of Young Conaway Stargatt & Taylor, LLP [D.I. 4250;
         9/17/18]

         1.      Twenty-Sixth Monthly Fee Application for the Period from May 1, 2018 through
                 May 31, 2018 [D.I. 4159; 6/20/18]

         2.      Certificate of No Objection [D.I. 4177; 7/6/18]

         3.      Twenty-Seventh Monthly Fee Application for the Period from June 1, 2018
                 through June 30, 2018 [D.I. 4212; 8/14/18]

         4.      Certificate of No Objection [D.I. 4233; 8/30/18]

         5.      Twenty-Eighth Monthly Fee Application for the Period from July 1, 2018 through
                 July 31, 2018 [D.I. 4238; 9/11/18]

         6.      Certificate of No Objection [D.I. 4274; 9/28/18]

         7.      Supplement to Ninth Interim Fee Application [D.I. 4251; 9/17/18]

         8.      Fee Examiner’s Consolidated Final Report [D.I. 4266; 9/26/18]

B.       Ninth Interim Fee Request of Gibson, Dunn & Crutcher LLP [D.I. 4250; 9/17/18]

         1.      Twenty-Seventh Monthly Fee Application for the Period from May 1, 2018
                 through May 31, 2018 [D.I. 4151; 6/15/18]

         2.      Certificate of No Objection [D.I. 4175; 7/2/18]

         3.      Twenty-Eighth Monthly Fee Application for the Period from June 1, 2018
                 through June 30, 2018 [D.I. 4203; 7/27/18]

         4.      Certificate of No Objection [D.I. 4213; 8/15/18]

         5.      Twenty-Ninth Monthly Fee Application for the Period from July 1, 2018 through
                 July 31, 2018 [D.I. 4234; 9/4/18]

         6.      Certificate of No Objection [D.I. 4260; 9/24/18]

         7.      Supplement to Ninth Interim Fee Application [D.I. 4261; 9/24/18]

         8.      Fee Examiner’s Consolidated Final Report [D.I. 4266; 9/26/18]

C.       Ninth Interim Fee Request of BDO USA, LLP [D.I. 4258; 9/21/18]

         1.      Twenty-Third Monthly Fee Application for the Period from May 1, 2018 through
                 June 30, 2018 [D.I. 4206; 8/3/18]


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         2.      Certificate of No Objection [D.I. 4225; 8/23/18]

         3.      Twenty-Fourth Monthly Fee Application for the Period from July 1, 2018 through
                 July 31, 2018 [D.I. 4227; 8/24/18]

         4.      Certificate of No Objection [D.I. 4243; 9/14/18]

         5.      Fee Examiner’s Consolidated Final Report [D.I. 4266; 9/26/18]




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